UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

         -   against     -                                        ORDER
                                                                  19-CR-108 (MKB)
ANDRE WILBURN,

                                    Defendant.
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MARGO K. BRODIE, United States District Judge:

         On February 28, 2019, a grand jury returned a two-count indictment against Defendant

Andre Wilburn, charging him with sexual exploitation of a child in violation of 18 U.S.C.

§§ 2251(a) and 2251(e), and possession of child pornography in violation of 18 U.S.C.

§§ 2252(a)(4)(B) and 2252(b)(2). (Indictment (“Ind.”) ¶¶ 1–2, Docket Entry No. 8; Criminal

Information Sheet, annexed to Ind. as Ex. 1, Docket Entry No. 8-1.) On April 22, 2019, the

Government filed a superseding indictment, charging Wilburn with three additional counts of

possession of child pornography. (Superseding Ind. ¶¶ 3–5, Docket Entry No. 13.) The

Superseding Indictment alleges that on November 6, 2016, Wilburn “did knowingly and

intentionally employ, use, persuade, induce, entice and coerce a minor, . . . an individual whose

identity is known to the Grand Jury, to engage in sexually explicit conduct for the purpose of

producing one or more visual depictions of such conduct,” with knowledge that such visual

depictions would be “transported and transmitted” through interstate commerce. (Id. ¶ 1.) In

addition, the Superseding Indictment charges Wilburn with four counts of possession of child

pornography, alleging that on or about September 6, 2018, Wilburn “did knowingly and

intentionally possess matter which contained one or more visual depictions” that had been
transported through interstate commerce, “involv[ing] the use of one or more minors engaging in

sexually explicit conduct, and such visual depictions were of such conduct.” (Id. ¶¶ 2–5.)

       Currently before the Court are Wilburn’s pro se motions (1) asserting his right to speedy

trial; (2) objecting to the continuance granted on November 10, 2021, until January 21, 2022,

(see Letter dated Nov. 28, 2021, Docket Entry No. 56); and (3) for bail pursuant to 18 U.S.C.

§ 3164, (Def.’s Third Mot. for Release on Bail, Docket Entry No. 58). For the following

reasons, the Court denies Wilburn’s pro se motions without prejudice to later presentation

through counsel.

  I.   Background

        Wilburn was arrested on January 16, 2019, and indicted on February 28, 2019, for sexual

exploitation of a child and possession of child pornography in violation of 18 U.S.C. §§ 2251(a),

2251(e), 2252(a)(4)(B), and 2252(b)(2). (Order of Detention, Docket Entry No. 6; Ind. ¶¶ 1–2.)

The Government filed the Superseding Indictment on April 22, 2019, (Superseding Ind.), and on

April 23, 2019, Wilburn entered a plea of not guilty, (Min. Entry dated Apr. 23, 2019). On April

23, 2020, Judge Roanne L. Mann held a detention hearing, during which defense counsel

presented a bail package with two sureties. (Min. Entry dated Apr. 23, 2020, Docket Entry No.

19.) The Government opposed Wilburn’s bail application and Judge Mann denied Wilburn’s

motion. (Id.)

       On September 29, 2021, Wilburn, proceeding pro se,1 renewed his bail application, (see

Def.’s Second Mot. for Release on Bail, Docket Entry No. 48), and following a hearing on




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          Samuel Gregory was appointed as CJA counsel on October 6, 2021, (see Order dated
Oct. 6, 2021, Docket Entry No. 50), and adopted Wilburn’s second motion for release on bail on
November 8, 2021, (see Reply to Gov’t Opp’n to Def.’s Second Mot. for Release on Bail,
Docket Entry No. 54).


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November 10, 2021, the Court denied his motion with leave to renew, (Min. Entry dated Nov.

10, 2021). In addition, the Court granted an adjournment until January 21, 2022, to allow

Wilburn’s newly appointed counsel sufficient time to familiarize himself with the case. (Id.) On

December 1, 2021, Wilburn filed a pro se motion asserting his right to speedy trial and objecting

to the November 10, 2021 continuance. (See Letter dated Nov. 28, 2021.) On December 3,

2021, the Court directed defense counsel to notify the Court whether he adopted Wilburn’s

objection. (Order dated Dec. 3, 2021.) On December 8, 2021, defense counsel responded to the

Court’s order, indicating that he did not join in Wilburn’s objection to the adjournment as he

“need[ed] the time to review the discovery and communicate with [Wilburn].” (Letter dated

Dec. 8, 2021, Docket Entry No. 57.) In addition, defense counsel requested that he “not be

required to respond to motions made by [Wilburn] in the future” as he is “spending considerable

time and resources responding to various motions and appeals made by [Wilburn] which were

made by him without [defense counsel’s] knowledge or input.” (Id.)

       On December 6, 2021, Wilburn, proceeding pro se, renewed his motion for bail arguing

that he has been detained for 1,077 days “solely because he is awaiting trial,” in violation of

18 U.S.C. § 3164. (Def.’s Third Mot. for Release on Bail 1.) On December 13, 2021, Wilburn

again moved to assert his right to speedy trial, arguing that “his pretrial detention is severely

prejudicing his defense.” (Letter dated Dec. 6, 2021, at 1, 4, Docket Entry No. 59.) In addition,

Wilburn expresses dissatisfaction with defense counsel’s representation because defense counsel

(1) exhibits unprofessional and intentionally antagonistic conduct and (2) refuses to assist in

drafting speedy trial and suppression motions. (See id. at 1–2.) Defense counsel has not adopted

or otherwise responded to Wilburn’s pro se motions.




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  II. Discussion

       The law is well established that an individual may not simultaneously exercise his

constitutional right to appear pro se and the right to appointed counsel. United States v. Bloom,

366 F. App’x 285, 290 n.4 (2d Cir. 2021) (“There is certainly a right to appear pro se, as well as

a right to appointed counsel. Obviously, however, those rights cannot be both exercised at the

same time.” (quoting Ennis v. LeFevre, 560 F.2d 1072, 1075 (2d Cir. 1977)); see also United

States v. Rivernider, 828 F.3d 91, 108 (2d Cir. 2016) (noting that a “defendant has a right either

to counsel or to proceed pro se, but has no right to ‘hybrid’ representation, in which he is

represented by counsel from time to time, but may slip into pro se mode for selected

presentations” (citation omitted) (first quoting Faretta v. California, 422 U.S. 806, 834 (1975);

and then citing Clark v. Perez, 510 F.3d 382, 395 (2d Cir. 2008))); United States v. Crozier, 640

F. App’x 100, 102 (2d Cir. 2016) (“[A] criminal defendant has no constitutional or statutory right

to represent himself as co-counsel with his own attorney.” (quoting United States v. Tutino, 883

F.2d 1125, 1141 (2d Cir. 1989))).

       “The decision to grant or deny ‘hybrid representation’ lies solely within the discretion of

the trial court.” Tutino, 883 F.2d at 1141 (quoting O’Reilly v. N.Y. Times Co., 692 F.2d 863, 869

(2d Cir. 1982)). Absent a “compelling reason” or a showing that “the interests of justice [would

be] served by a defendant’s supplementation of the legal services provided by his retained

counsel,” the trial court need not permit hybrid representation. United States v. Reed, No. 13-

CR-6172, 2014 WL 3534011, at *7 (W.D.N.Y. July 14, 2014) (alteration in original) (first

quoting Tutino, 883 F.2d at 1141; and then quoting United States v. Swinton, 400 F. Supp. 805,

806 (S.D.N.Y. 1975)), report and recommendation adopted, 2014 WL 4425795 (S.D.N.Y. Sept.

9, 2014).




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       Wilburn has presented no “compelling reason” for the Court to permit “hybrid

representation” and the Court therefore declines to consider Wilburn’s pending pro se motions

without prejudice to later presentation through counsel. Tutino, 883 F.2d at 1141; see also

United States v. Wolfish, 525 F.2d 457, 463 (2d Cir. 1975) (per curiam) (finding that the

defendant “had an experienced counsel and, so long as he retained him, he could not appear pro

se”). The law is well settled that counsel’s representation is not rendered ineffective merely

because the defendant disagrees with counsel on litigation strategy. See Rivernider, 828 F.3d at

108 (noting that “it is well settled that a defendant may not disrupt proceedings by demanding

new counsel whenever he differs from his lawyer’s strategic, legal, or ethical judgments about

how to conduct a case”); Smith v. Superintendent, Cayuga Corr. Facility, No. 18-CV-160, 2020

WL 8474766, at *8 (N.D.N.Y. Sept. 17, 2020) (“The mere fact that a defendant’s preferred

litigation strategy differs from that of his counsel’s does not make counsel’s representation

ineffective.” (citing United States v. Sandford, 342 F. Supp. 3d 333, 336 (W.D.N.Y. 2018))),

report and recommendation adopted, 2021 WL 193957 (N.D.N.Y. Jan. 20, 2021).

       Therefore, the Court declines to exercise its discretion to permit hybrid representation

and denies without prejudice to later presentation through counsel Wilburn’s pro se motions:

(1) asserting his right to speedy trial; (2) objecting to the continuance granted on November 10,

2021 until January 21, 2022; and (3) for bail pursuant to 18 U.S.C. § 3164.

Dated: December 30, 2021
       Brooklyn, New York

                                                     SO ORDERED:


                                                      s/ MKB
                                                     MARGO K. BRODIE
                                                     United States District Judge




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